           Case 2:20-cv-01918-AWI-SKO Document 31 Filed 03/31/22 Page 1 of 1


 1

 2

 3

 4

 5                               UNITED STATES DISTRICT COURT
 6                              EASTERN DISTRICT OF CALIFORNIA
 7

 8   PIT RIVER TRIBE, a federally recognized             CASE NO. 2:20-CV-1918 AWI SKO
     Indian tribal government,
 9
                           Plaintiff                     ORDER RE: JOINT REQUEST FOR
10                                                       JUDICIAL NOTICE
                    v.
11
     STATE OF CALIFORNIA, and GAVIN
12   NEWSOM IN HIS OFFICIAL                              (Doc. 13)
     CAPACITY AS GOVERNOR OF
13   CALIFORNIA,
14                         Defendants
15

16          The parties have filed a joint request for judicial notice of the record of negotiations (which
17   total 10,013 pages) filed in Chicken Ranch Rancheria v. California, Civ. Case No. 19-0024. Doc.
18   13. They note that both cases arise out of the same tribal-state compact negotiations which were
19   conducted jointly over an approximately five-year period and which involve the same documents.
20   These records of negotiations are identical in the two cases. Judicial notice of those documents
21   would save time and effort, avoiding duplication of effort in compiling and maintaining separate
22   compilations documents.
23          The request for judicial notice is GRANTED.
24
     IT IS SO ORDERED.
25

26   Dated: March 31, 2022
                                                 SENIOR DISTRICT JUDGE
27

28
